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                               IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE


 In re:                                                                  Chapter 11

 AMYRIS, INC., et al.,                                                   Case No. 23-11131 (TMH)

                                      Debtors. 1                         (Jointly Administered)


              AMENDED2 NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
              HEARING ON SEPTEMBER 14, 2023 AT 2:00 P.M. (EASTERN TIME3)


      This hearing will be conducted in-person before the Honorable Thomas M. Horan, in the
     United States Bankruptcy Court for the District of Delaware, 824 Market Street, 3rd Floor,
        Courtroom #7. All parties, including witnesses, are expected to attend in person unless
     permitted to appear via Zoom. Participation at the in-person court proceeding using Zoom
      is allowed only in the following circumstances: (i) a party who files a responsive pleading
     intends to make only a limited argument; (ii) a party who has not submitted a pleading but
           is interested in observing the hearing; or (iii) other extenuating circumstances as
                                      determined by Judge Horan.
        All participants over Zoom must register in advance. Please register by September 13,
                               2023, at 4:00 p.m. (EST). at the link below.
      https://debuscourts.zoomgov.com/meeting/register/vJIsd-isqzkiHLFEg9EYrQ18gmhhyoj8Gr4

I.      RESOLVED MATTERS

        1. Motion for Entry of Interim and Final Orders: (I) Approving Proposed form of Adequate
           Assurance of Payment to Utility Companies; (II) Establishing Procedures for Resolving
           Objections By Utility Companies; (III) Prohibiting Utility Companies From Altering,
           Refusing, Or Discontinuing Service; and (IV) Granting Related Relief [Filed 08/09/2023,
           Docket No. 7].

            Response Deadline: August 31, 2023. The deadline to respond was extended for the
            Committee to September 7, 2023.




 1
        A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the
        Debtors’ claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
        principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street,
        Suite 100, Emeryville, CA 94608.
 2
        Amended items are indicated in bold.
 3      All motions and other pleadings referenced herein are available online at the following web address:
        https://cases.stretto.com/Amyris.
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        Responses Received:

        a.         Informal response received from the Committee as incorporated into the form of
                   the Proposed Final Order.

        Related Documents:

        A.    Certification of Counsel Regarding Motion for Entry of Interim and Final Orders:
              (I) Approving Proposed form of Adequate Assurance of Payment to Utility
              Companies; (II) Establishing Procedures for Resolving Objections By Utility
              Companies; (III) Prohibiting Utility Companies From Altering, Refusing, Or
              Discontinuing Service; and (IV) Granting Related Relief [Filed September 9, 2023,
              Docket No. 225].

        B.    [Signed] Final Order (I) Approving Proposed Form of Adequate Assurance of
              Payment to Utility Companies; (II) Establishing Procedures for Resolving
              Objections by Utility Companies; (III) Prohibiting Utility Companies from
              Altering, Refusing, or Discontinuing Service; and (IV) Granting Related Relief
              [Filed September 11, 2023, Docket No. 229].

        Status: The Court has entered the order on this matter and it is now resolved.

    2. Motion for Entry of Interim and Final Orders: (I) Authorizing the Payment of Certain
       Taxes and Fees; and (II) Granting Related Relief [Filed 08/09/2023, Docket No. 8].

        Response Deadline: August 31, 2023. The deadline to respond was extended for the
        Committee to September 7, 2023.

        Responses Received:

        a.         Informal response received from the Committee as incorporated into the form of
                   the Proposed Final Order.

        Related Documents:

        A.    Certification of Counsel Regarding Motion for Entry of Interim and Final Orders:
              (I) Authorizing the Payment of Certain Taxes and Fees; and (II) Granting Related
              Relief [Filed September 8, 2023, Docket No. 209].

        B.    [Signed] Final Order: (I) Authorizing the Payment of Certain Taxes and Fees; and
              (II) Granting Related Relief [Filed September 8, 2023, Docket No. 216].

        Status: The Court has entered the order on this matter and it is now resolved.

    3. Motion for Entry of Interim and Final Orders (I) Authorizing Debtors to (A) Honor
       Certain Prepetition Obligations to Customers and (B) Otherwise Continue Certain
       Customer Programs in the Ordinary Course of Business and (II) Granting Related Relief
       [Filed 08/09/2023, Docket No. 10].


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        Response Deadline: August 31, 2023. The deadline to respond was extended for the
        Committee to September 7, 2023.

        Responses Received:

        a.         Informal response received from the Committee as incorporated into the form of
                   the Proposed Final Order.

        Related Documents:

        A.    Certification of Counsel Regarding Motion for Entry of Interim and Final Orders (I)
              Authorizing Debtors to (A) Honor Certain Prepetition Obligations to Customers and
              (B) Otherwise Continue Certain Customer Programs in the Ordinary Course of
              Business and (II) Granting Related Relief [Filed September 8, 2023, Docket No.
              206].

        B.    [Signed] Final Order (I) Authorizing Debtors to (A) Honor Certain Prepetition
              Obligations to Customers and (B) Otherwise Continue Certain Customer Programs
              in the Ordinary Course of Business and (II) Granting Related Relief [Filed
              September 8, 2023, Docket No. 214].

        Status: The Court has entered the order on this matter and it is now resolved.

    4. Motion for Entry of Interim and Final Orders: (I) Authorizing, But Not Directing, the
       Debtors to (A) Pay Prepetition Employee Wages, Salaries, Other Compensation, and
       Reimbursable Employee Expenses and (B) Continue Employee Benefits Programs and
       (II) Granting Related Relief [Filed 08/09/2023, Docket No. 11].

        Response Deadline: August 31, 2023. The deadline to respond was extended for the
        Committee to September 7, 2023.

        Responses Received:

        a.         Informal response received from the Committee as incorporated into the form of
                   the Proposed Final Order.

        Related Documents:

        A.    Certification of Counsel Regarding Motion for Entry of Interim and Final Orders:
              (I) Authorizing, But Not Directing, the Debtors to (A) Pay Prepetition Employee
              Wages, Salaries, Other Compensation, and Reimbursable Employee Expenses and
              (B) Continue Employee Benefits Programs and (II) Granting Related Relief [Filed
              September 8, 2023, Docket No. 210].

        B.    [Signed] Final Order (I) Authorizing, But Not Directing, the Debtors to (A) Pay
              Prepetition Employee Wages, Salaries, Other Compensation, and Reimbursable
              Employee Expenses and (B) Continue Employee Benefits Programs and (II)
              Granting Related Relief [Filed September 8, 2023, Docket No. 217].

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        Status: The Court has entered the order on this matter and it is now resolved.

    5. Motion for Entry of an Order (I) Extending Time to File Schedules of Assets and
       Liabilities and (II) Granting Related Relief [Filed 08/09/2023, Docket No. 13].

        Response Deadline: August 31, 2023. The deadline to respond was extended for the
        Committee to September 7, 2023.

        Responses Received:

        a.         Informal response received from the Committee as incorporated into the form of
                   the Proposed Order.

        Related Documents:

        A.    Certification of Counsel Regarding Motion for Entry of an Order (I) Extending
              Time to File Schedules of Assets Filed September 8, 2023, Docket No. 208].

        B.    [Signed] Order (I) Extending Time to File Schedules of Assets and Liabilities and
              (II) Granting Related Relief [Filed September 12, 2023, Docket No. 240].

        Status: The Court has entered the order on this matter and it is now resolved.

    6. Motion for Entry of Interim and Final Orders Approving Notification and Hearing
       Procedures for (I) Certain Transfers of and Declarations of Worthlessness With Respect
       to Common Stock, (II) Certain Transfers of Claims Against Debtors and (II) Granting
       Related Relief [Filed 08/09/2023, Docket No. 14].

        Response Deadline: August 31, 2023. The deadline to respond was extended for the
        Committee to September 7, 2023.

        Responses Received:

        a.         Informal response received from the Committee as incorporated into the form of
                   the Proposed Final Order.

        Related Documents:

        A.    Certification of Counsel Regarding Motion for Entry of Interim and Final Orders
              Approving Notification and Hearing Procedures for (I) Certain Transfers of and
              Declarations of Worthlessness With Respect to Common Stock, (II) Certain
              Transfers of Claims Against Debtors and (II) Granting Related Relief [Filed
              September 8, 2023, Docket No. 207].

        B.    [Signed] Final Order (I) Approving Notification and Hearing Procedures for Certain
              Transfers of and Declarations of Worthlessness With Respect to Common Stock,
              (II) Certain Transfers of Claims Against Debtors and (II) Granting Related Relief
              [Filed September 8, 2023, Docket No. 215].


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        Status: The Court has entered the order on this matter and it is now resolved.

    7. Application to Employ KTBS Law LLP as Special Counsel on Behalf of and at the Sole
       Direction of the Independent Director, Effective as of August 11, 2023 [Filed August 18,
       2023, Docket No. 108].

        Responses Received:

        a.         Informal response received from the Committee as incorporated into the form of
                   the Proposed Final Order.

        Related Documents:

        A.    First Supplemental Declaration of Samuel M. Kidder In Support of Application of
              the Debtors to Retain and Employ KTBS Law LLP as Special Counsel on Behalf of
              and at the Sole Direction of the Independent Director, Effective as of August 11,
              2023 [Filed September 1, 2023, Docket No. 177].

        B.    Certification of Counsel Regarding Application of the Debtors to Retain and
              Employ KTBS Law LLP as Special Counsel on Behalf of and at the Sole Direction
              of the Independent Director, Effective as of August 11, 2023 [Filed September 8k,
              2023, Docket No. 221].

        C.    [Signed] Order Authorizing Retention and Employment of KTBS Law LLP as
              Special Counsel for the Debtors on Behalf of and at the Sole Direction of the
              Independent Director, Effective as of August 11, 2023 [Filed September 11, 2023,
              Docket No. 228].

        Status: The Court has entered the order on this matter and it is now resolved.

    8. Motion of Debtors for Entry of Order (I) Establishing Procedures Governing the Sale or
       Transfer of Certain De Minimis Assets and Non-Operating Brands, and (II) Granting
       Related Relief [Filed August 24, 2023, Docket No. 132].

        Response Deadline: September 7, 2023.

        Responses Received:

        a.         Informal response received from the Committee as incorporated into the form of
                   the Proposed Final Order.

        Related Documents:

        A.    Certification of Counsel Regarding Motion of Debtors for Entry of Order (I)
              Establishing Procedures Governing the Sale or Transfer of Certain De Minimis
              Assets and Non-Operating Brands, and (II) Granting Related Relief [Filed
              September 7, 2023, Docket No. 198].



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        B.    Order (I) Establishing Procedures Governing the Sale or Transfer of Certain De
              Minimis Assets and Non-Operating Brands, and (II) Granting Related Relief [Filed
              September 8, 2023, Docket No. 205].

        Status: The Court has entered the order on this matter and it is now resolved.

    9. Motion to Reject Lease or Executory Contract Second Omnibus Motion for the Entry of
       an Order (A) Authorizing Rejection of Executory Contracts Effective as of the
       Applicable Rejection Date; and (B) Granting Related Relief [Filed August 24, 2023,
       Docket No. 133].

        Response Deadline: September 7, 2023.

        Responses Received:

        a.         Informal response received from the Committee as incorporated into the form of
                   the Proposed Order.

        Related Documents:

        A.    Certification of Counsel Regarding Second Omnibus Motion for the Entry of an
              Order (A) Authorizing Rejection of Executory Contracts Effective as of the
              Applicable Rejection Date; and (B) Granting Related Relief [Filed September 7,
              2023, Docket No. 200].

        B.    [Signed] Order (A) Authorizing Rejection of Executory Contracts Effective as of
              the Applicable Rejection Date; and (B) Granting Related Relief [Filed September 8,
              2023, Docket No. 204].

        Status: The Court has entered the order on this matter and it is now resolved.

    10. Application to Employ Stretto, Inc. as Administrative Advisor Effective as of the Petition
        Date [Filed August 24, 2023, Docket No. 134].

        Response Deadline: September 7, 2023.

        Responses Received:

        a.         Informal response received from the Committee as incorporated into the form of
                   the Proposed Final Order.

        Related Documents:

        A.    Certification of Counsel Regarding Application for Appointment of Stretto, Inc. as
              Administrative Advisor Effective as of the Petition Date [Filed September 8, 2023,
              Docket No. 219].




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        B.    [Signed] Order Authorizing Retention and Appointment of Stretto, Inc. as
              Administrative Advisor Effective as of the Petition Date [Filed September 11, 2023,
              Docket No. 227].

        Status: The Court has entered the order on this matter and it is now resolved. Debtors’
        Application for Authorization to Employ and Retain Pachulski Stang Ziehl & Jones LLP
        as Counsel for the Debtors Effective as of the Petition Date [Filed August 24, 2023,
        Docket No. 136].

        Response Deadline: August 31, 2023. The deadline to respond was extended for the
        Committee to September 7, 2023.

        Responses Received: None.

        Related Documents:

        A.    Certificate of No Objection Regarding Debtors Application for Authorization to
              Employ and Retain Pachulski Stang Ziehl & Jones LLP as Counsel for the Debtors
              Effective as of the Petition Date [Filed September 8, 2023, Docket No. 220].

        B.    [Signed] Order Authorizing the Employment and Retention of Pachulski Stang
              Ziehl & Jones LLP as Counsel for the Debtors Effective as of the Petition Date
              [Filed September 11, 2023, Docket No. 232]

        Status: The Court has entered the order on this matter and it is now resolved.

    11. [REDACTED] Lavvan, Inc.'s Motion for Limited Modification of Automatic Stay to
        Permit Issuance of an Arbitration Award) [Filed August 31, 2023, Docket No. 175]

        Response Deadline: September 7, 2023.

        Responses Received:

        a.         Informal response received from the Committee as incorporated into the form of
                   the Proposed Order.

        Related Documents:

        A.    Statement of the Debtors with Respect to Lavvan, Inc.'s Motion for Limited
              Modification of Stay to Permit Issuance of an Arbitration Award [Filed September
              8, 2023, Docket No. 213].

        B.    Certification of Counsel Regarding Order Granting Limited Modification of
              Automatic Stay to Permit Issuance of an Arbitration Award [Filed September 11,
              2023 [Docket No. 226].

        C.    [SIGNED] Order Granting Limited Modification of Automatic Stay to Permit
              Issuance of an Arbitration Award [Filed September 11, 2023, Docket No. 230].


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          D.    [SIGNED] Order Authorizing Lavvan, Inc. to File Under Seal Its (I) Limited DIP
                Objection to DIP Motion and (II) Motion for Modification of Automatic Stay [Filed
                September 11, 2023, Docket No. 231].

          Status: The Court has entered the order on this matter and it is now resolved.

II.   MATTERS RESOLVED BY COC/CNO

      12. Motion for Entry of Interim and Final Orders: (I) Authorizing Debtors to Pay Prepetition
          Claims of Critical Vendors, Foreign Vendors, 503(B)(9) Claimants, and Lien Claimants;
          (II) Granting Administrative Expense Priority to All Undisputed Obligations on Account
          of Outstanding Orders; (III) Authorizing all Financial Institutions to Honor all Related
          Payment Requests; and (IV) Granting Related Relief [Filed 08/09/2023, Docket No. 9].

          Response Deadline: August 31, 2023. The deadline to respond was extended for the
          Committee to September 7, 2023.

          Responses Received:

          a.         Informal response received from the Committee as incorporated into the form of
                     the Proposed Final Order.

          Related Documents:

          A.    Certification of Counsel Regarding Motion for Entry of Interim and Final Orders:
                (I) Authorizing Debtors to Pay Prepetition Claims of Critical Vendors, Foreign
                Vendors, 503(B)(9) Claimants, and Lien Claimants; (II) Granting Administrative
                Expense Priority to All Undisputed Obligations on Account of Outstanding Orders;
                (III) Authorizing all Financial Institutions to Honor all Related Payment Requests;
                and (IV) Granting Related Relief [Filed September 11, 2023, Docket No. 243].

          B.    Final Order (I) Authorizing the Debtors to Pay Prepetition Claims of Critical
                Vendors, Foreign Vendors, 503(b)(9) Claimants, and Lien Claimants; (II)
                Authorizing all Financial Institutions to Honor all Related Payment Requests;
                and (III) Granting Related Relief [Entered September 12, 2023, Docket No.
                250]

          Status: The Court has entered the order on this matter and it is now resolved.

      13. Motion for Entry of Interim and Final orders (I) authorizing the Debtors to (A) Continue
          to Maintain Their Insurance Policies and Programs, (B) Honor all Insurance Obligations,
          (C) Renew, Amend, Supplement, Extend, or Purchase and Finance Insurance Policies;
          (II) Authorizing Continuation of Insurance Premium Financing Agreement; and (III)
          Granting Related Relief [Filed 08/09/2023, Docket No. 12].

          Response Deadline: August 31, 2023. The deadline to respond was extended for the
          Committee to September 7, 2023.


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        Responses Received:

        a.         Informal response received from the Committee as incorporated into the form of
                   the Proposed Final Order.

        Related Documents:

        A.    Certificate of Service [Filed August 17, 2023, Docket No. 104].

        B.    Certification of Counsel Regarding Motion for Entry of Interim and Final orders (I)
              Authorizing the Debtors to (A) Continue to Maintain Their Insurance Policies and
              Programs, (B) Honor all Insurance Obligations, (C) Renew, Amend, Supplement,
              Extend, or Purchase and Finance Insurance Policies; (II) Authorizing Continuation
              of Insurance Premium Financing Agreement; and (III) Granting Related Relief
              [Filed September 12, 2023, Docket No. 244]

        C.    Final Order (I) Authorizing the Debtors to (A) Continue to Maintain Their
              Insurance Policies and Programs, (B) Honor all Insurance Obligations, (C)
              Renew, Amend, Supplement, Extend, or Purchase and Finance Insurance
              Policies; (II) Authorizing Continuation of Insurance Premium Financing
              Agreement; and (III) Granting Related Relief [Entered September 12, 2023,
              Docket No. 251]

        Status: The Court has entered the order on this matter and it is now resolved.

    14. Motion for Entry of Interim and Final Orders Authorizing the Debtors to (A) Continue
        Operating Cash Management System, (B) Honor Certain Prepetition Obligations Related
        thereto, (C) Maintain Existing Business forms, and (D) Granting Related Relief [Filed
        08/09/2023, Docket No. 16].

        Response Deadline: August 31, 2023. The deadline to respond was extended for the
        Committee to September 7, 2023.

        Responses Received:

        a.         Informal response received from the Committee as incorporated into the form of
                   the Proposed Final Order.

        Related Documents:

        A.    Certification of Counsel Regarding Motion for Entry of Interim and Final Orders
              Authorizing the Debtors to (A) Continue Operating Cash Management System, (B)
              Honor Certain Prepetition Obligations Related thereto, (C) Maintain Existing
              Business forms, and (D) Granting Related Relief [Filed September 11, 2023,
              Docket No. 242].

        B.    Final Order (I) Authorizing the Debtors to (A) Continue Operating Cash
              Management System, (B) Honor and Pay Bank Fees, (C) Maintain Existing

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                 Business Forms, and (II) Granting Related Relief [Entered September 12,
                 2023, Docket No. 249]

           Status: The Court has entered the order on this matter and it is now resolved.

III.   MATTERS GOING FORWARD

       15. Motion for Order Establishing Procedures for Interim Compensation and Reimbursement
           of Expenses of Professionals [Filed August 24, 2023, Docket No.135].

           Response Deadline: September 7, 2023.

           Responses Received:

           a.         Informal response received from the Committee and the United States Trustee as
                      incorporated into the form of the Proposed Order.

           Related Documents:

           a.         Certification of Counsel Regarding Motion for Order Establishing
                      Procedures for Interim Compensation and Reimbursement of Expenses of
                      Professionals [Filed September 13, 2023, Docket No. 261]

           Status: The informal comments of the Committee and the United States Trustee
           have been resolved by language added to a revised proposed order filed under
           certification of counsel. No hearing is needed if the revised proposed order is
           acceptable to the Court.

       16. Motion to Employ Professionals Utilized as in the Ordinary Course of Business [Filed
           August 24, 2023, Docket No. 137].

           Response Deadline: September 7, 2023.

           Responses Received:

           a.         Informal response received from the Committee as incorporated into the form of
                      the Proposed Order.

           Related Documents:

           a.         Certification of Counsel Regarding Motion to Employ Professionals Utilized
                      as in the Ordinary Course of Business [Filed September 13, 2023, Docket No.
                      259]

           b.         Order: (I) Authorizing Employment and Payment of Professional Utilized In
                      the Ordinary Course of Business; and (II) Granting Related [Entered
                      September 13, 2023, Docket No. 260]



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        Status: The Court has entered the order on this matter and it is now resolved.

    17. Application to Employ Intrepid Investment Bankers LLC as Investment Banker for the
        Debtors and Debtors in Possession, Pursuant to 11 U.S.C. Sections 327(A) and 328, Nunc
        Pro Tunc to the Petition Date, (B) Waiving Certain Requirements Imposed by Local Rule
        2016-2, and (C) Granting Related Relief [Filed August 24, 2023, Docket No. 139].

        Response Deadline: September 7, 2023.

        Responses Received:

        a.         Informal response received from the Committee and the Office of the United
                   States Trustee, as incorporated into the form of the Proposed Order.

        Related Documents:

        a.         Supplemental Declaration in Support of Lorie Beers Regarding Debtors'
                   Application for Entry of an Order (A) Authorizing the Retention and
                   Employment of Intrepid Investment Bankers LLC as Investment Banker for
                   the Debtors and Debtors in Possession, Pursuant To 11 U.S.C. §§ 327(A) and
                   328, Nunc Pro Tunc to the Petition Date, (B) Waiving Certain Requirements
                   Imposed by Local Rule 2016-2, and (C) Granting Related Relief [Filed
                   September 13, 2023, Docket No. 262]

        b.         Certification of Counsel Regarding Application to Employ Intrepid
                   Investment Bankers LLC as Investment Banker for the Debtors and Debtors
                   in Possession, Pursuant to 11 U.S.C. Sections 327(A) and 328, Nunc Pro Tunc
                   to the Petition Date, (B) Waiving Certain Requirements Imposed by Local
                   Rule 2016-2, and (C) Granting Related Relief [Filed September 13, 2023,
                   Docket No. 265]

        Status: The informal comments of the Committee and the United States Trustee
        have been resolved by language added to a revised proposed order filed under
        certification of counsel. No hearing is needed if the revised proposed order is
        acceptable to the Court.

    18. Application to Employ Ankura Consulting Group, LLC as Chief Restructuring Officer
        (II) Designating Philip J. Gund as Chief Restructuring Officer for the Debtors Effective
        as of the Petition Date, and (III) Granting Related Relief [Filed August 24, 2023, Docket
        No. 141].

        Response Deadline: September 7, 2023.

        Responses Received:

        a.         Informal response received from the Committee and the United States Trustee as
                   incorporated into the form of the Proposed Order.


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        Related Documents:

        a.         Certification of Counsel Regarding Application to Employ Ankura
                   Consulting Group, LLC as Chief Restructuring Officer (II) Designating
                   Philip J. Gund as Chief Restructuring Officer for the Debtors Effective as of
                   the Petition Date, and (III) Granting Related Relief [Filed September 13,
                   2023, Docket No. 268].

        Status: The informal comments of the Committee and the United States Trustee
        have been resolved by language added to a revised proposed order filed under
        certification of counsel. No hearing is needed if the revised proposed order is
        acceptable to the Court.

    19. Motion for an Order (I) Approving Key Employee Incentive Plan for Senior Leadership
        Employees and (II) Approving Key Employee Retention Plan for Non-Insider Employees
        [Filed August 24, 2023, Docket No. 142].

        Response Deadline: September 7, 2023.

        Responses Received:

        a.         Informal response received from the Committee and the United States Trustee as
                   incorporated into the form of the Proposed Order.

        Related Documents:

        A.    Motion for the Entry of an Order Authorizing Debtors to File Certain Information
              Related to Debtors' Motion to Approve Key Employee Retention Under Seal [Filed
              August 24, 2023, Docket No. 144]

        B.    Supplemental Declaration in Support /Supplemental Declaration of Steven J.
              Fleming in Support of Debtors' Motion for an Order (I) Approving Key
              Employee Incentive Plan for Senior Leadership Employees and (II) Approving
              Key Employee Retention Plan for Non-Insider Employees [Filed September 13,
              2023, Docket No. 264]

        C.    Certification of Counsel Regarding Motion for an Order (I) Approving Key
              Employee Incentive Plan for Senior Leadership Employees and (II) Approving
              Key Employee Retention Plan for Non-Insider Employees [Filed September 13,
              2023, Docket No. 266]

        D.    [SEALED] Exhibit(s) Related to Certification of Counsel at Docket 266 for
              Motion for an Order (I) Approving Key Employee Incentive Program for
              Senior Leadership Employees and (II) Approving Key Employee Retention
              Plan for Non-Insider Employees [Filed September 14, 2023, Docket No. 270]

        Status: The informal comments of the Committee and the United States Trustee
        have been resolved by language added to a revised proposed order filed under

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          certification of counsel. No hearing is needed if the revised proposed order is
          acceptable to the Court.

      20. First Omnibus Motion for the Entry of an Order (A) Authorizing Rejection of Unexpired
          leases and Non-Residential Real Property and Executory Contracts Nunc Pro Tunc to the
          Petition Date; (B) Abandoning any Remaining Personal Property Located at the Leased
          Premises; and (C) Granting Related Relief [Filed August 11, 2023, Docket No. 66].

          Response Deadline: August 31, 2023. The deadline to respond was extended for the
          Committee to September 7, 2023.

          Responses Received:

          a.         Informal response received from the Committee as incorporated into the form of
                     the Proposed Final Order.

          b.         Informal response received from potential asset purchaser.

          Related Documents:

          Status: The Debtors will submit a revised order under certification of counsel after
          the hearing. This matter is not going forward at the hearing.

IV.   CONTESTED MATTERS GOING FORWARD

      21. Motion of the Debtors for Interim and Final Orders (I) Authorizing Debtors (A) to Obtain
          Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate
          Protection to Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV)
          Scheduling a Final Hearing, and (V) Granting Related Relief [Filed 08/09/2023, Docket
          No. 19].

          Response Deadline: August 31, 2023. The deadline to respond was extended for the
          Committee to September 7, 2023.

          Responses Received:

          a.         Informal response received from the Committee as incorporated into the form of
                     the Proposed Final Order.

          b.         [REDACTED] Limited Objection of Lavvan, Inc. to Motion of the Debtors for
                     Interim and Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition
                     Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to
                     Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling
                     a Final Hearing, and (V) Granting Related Relief [Filed August 31, 2023, Docket
                     No. 172].

          c.         Supplemental Objection of Lavvan, Inc. to Motion of the Debtors for Interim and
                     Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B)

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                   to Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition
                   Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a Final
                   Hearing, and (V) Granting Related Relief [Filed September 8, 2023, Docket No.
                   211].

        d.         Statement of the Official Committee of Unsecured Creditors Regarding the
                   Motion of the Debtors for Interim and Final Orders (I) Authorizing Debtors
                   (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II)
                   Granting Adequate Protection to Prepetition Secured Parties, (III)
                   Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V)
                   Granting Related Relief [Filed September 13, 2023, Docket No. 267].

        e.         Preliminary Statement of Ad Hoc Cross-Holder Group to Debtors' Motion
                   for Interim and Final Orders (I) Authorizing Debtors (A) to Obtain
                   Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting
                   Adequate Protection to Prepetition Secured Parties, (III) Modifying the
                   Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related
                   Relief [Filed September 13, 2023, Docket No. 269]

        Related Documents:

        A.    Notice of Hearing on Motion of the Debtors for Interim and Final Orders (I)
              Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
              Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties, (III)
              Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting
              Related Relief [Filed August 10, 2023, Docket No. 40].

        B.    Interim Order (I) Authorizing the Debtors (A) to Obtain Postpetition Financing and
              (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition
              Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a Final
              Hearing, and (V) Granting Related Relief [Filed August 11, 2023, Docket No. 54].

        C.    Debtors' Motion for Entry of an Order Authorizing Debtors to File Under Seal
              Certain Information Related to Reply of the Debtors in Support of Final Order (I)
              Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
              Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties, (III)
              Modifying the Automatic Stay, and (IV) Granting Related Relief [Filed September
              11, 2023, Docket No. 237].

        Replies:

        A.    Reply Of Euagore, LLC And The Foris Prepetition Secured Lenders To Objection
              Of Lavvan, Inc., And Joinder To Reply Of The Debtors In Support Of Final Order
              (I) Authorizing Debtors To (A) Obtain Postpetition Financing And (B) To Utilize
              Cash Collateral, (II) Granting Adequate Protection To Prepetition Secured Parties,
              (III) Modifying The Automatic Stay, And (IV) Granting Related Relief [Filed
              September 11, 2023, Docket No. 235].


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        B.    [SEALED] Reply of the Debtors in Support of Final Order (I) Authorizing Debtors
              (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II)
              Granting Adequate Protection to Prepetition Secured Parties, (III) Modifying the
              Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief
              [Filed September 11, 2023, Docket No. 236].

        C.    [REDACTED] Reply of the Debtors in Support of Final Order (I) Authorizing
              Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II)
              Granting Adequate Protection to Prepetition Secured Parties, (III) Modifying the
              Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief
              [Filed September 11, 2023, Docket No. 238].

        D.    Amended Declaration of Steven Fleming in Support of Reply of the Debtors in
              Support of Final Order (I) Authorizing Debtors (A) to Obtain Postpetition
              Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate
              Protection to Prepetition Secured Parties, (III) Modifying the Automatic Stay,
              (IV) Scheduling a Final Hearing, and (V) Granting Related Relief[Filed
              September 14, 2023, Docket No. 273].

        Witness and Exhibit List:

        A.    Debtors’ Witness and Exhibit List for hearing on September 14, 2023 at 2:00 p.m.
              (ET) [Filed September 12, 2023, Docket No. 245].

        B.    The Foris Lenders' Witness and Exhibit List for Hearing Scheduled for
              September 14, 2023 at 2:00 p.m. (ET) [Filed September 12, 2023, Docket No.
              248].

        C.    Lavvan, Inc.'s Witness and Exhibit List for Hearing Scheduled for September
              14, 2023 at 2:00 p.m. (ET) [Filed September 14, 2023, Docket No. 272].

        Status: The matter is going forward.




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Dated: September 14, 2023               PACHULSKI STANG ZIEHL & JONES LLP

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